          Case 1:22-cv-02697-CKK Document 3-1 Filed 09/12/22 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 Champion, et al.

                 Plaintiffs,
         v.
                                                       Civil Action No. 1:22-cv-02697 (CKK)
 Does,
                 Defendants.

      ORDER GRANTING PLAINTIFF’S EX PARTE MOTION FOR EXPEDITED
                            DISCOVERY

         Having considered Plaintiff’s Ex Parte Motion for Expedited Discovery, the lack of any

stated opposition thereto, and the entire record herein, the Court finds that Plaintiff’s motion is

well taken. For the foregoing reasons, it is hereby

         ORDERED that plaintiffs’ motion is granted and Plaintiff has 160 days to send

expedited discovery related to the following information:

 i. The identity and role of the parties (including Sellers, Brokers, Callers, and Lead

    Generators) involved in the calls and text messages sent to Plaintiffs and class members,

ii. The identity, actions, and business arrangements of the parties who may be individually or

    vicariously liable for this spam, and

iii. What and who each URL component involved in any of the spam identifies.

         FURTHER ORDERED that parties provide full and complete responses, and produce

documents or information, within 14 days of the service of a subpoena. The responses must

include all information that helps to identify the parties, including all names, addresses, emails,

phone numbers, and any other relevant information.

         SO ORDERED


Dated: ______________________                  _______________________________________
                                               The Honorable Judge Colleen Kollar-Kotelly
                                               United States District Judge
